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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
BUFFALO FIELD CAMPAIGN, et al.,           )
                                          )
            Plaintiffs,                   )
                                          )
      v.                                  )                   Case No. 1:16-cv-1909 CRC
                                          )
                                          )
RYAN ZINKE, et al.,                       )
                                          )
            Defendants.                   )
__________________________________________)


                 JOINT STIPULATION TO RESOLVE PLAINTIFFS’
             MOTION FOR ATTORNEYS’ FEES AND [PROPOSED] ORDER

       On September 26, 2016, Buffalo Field Campaign, Western Watersheds Project, and

Friends of Animals (collectively, Plaintiffs) filed this lawsuit against Ryan Zinke, in his official

capacity as Secretary of the Interior, the Director of the U.S. Fish and Wildlife Service (FWS),

and FWS (collectively, Federal Defendants) challenging FWS’s 90-day finding that the petitions

to list the Yellowstone bison under the Endangered Species Act did not provide substantial

scientific or commercial information indicating that the petitioned action may be warranted, 81

Fed. Reg. 1368 (Jan. 12, 2016). ECF No. 1. On January 31, 2018, this Court issued an Order

granting Plaintiffs’ Motion for Summary Judgment and denying Federal Defendants’ Cross-

Motion for Summary Judgment. ECF No. 26. On June 27, 2018, the D.C. Circuit Court of

Appeals granted Federal Defendants’ motion for voluntary dismissal of their appeal and issued

the mandate to this Court. ECF Nos. 30, 31. On July 27, 2018, Plaintiffs filed a motion for

attorneys’ fees. ECF No. 32. On August 3, 2018, the Court granted the parties’ joint motion to
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stay briefing on the motion for attorneys’ fees. The Court continued that stay on October 1, 2018

and October 31, 2018.

       Plaintiffs and Federal Defendants (the Parties) have resolved Plaintiffs’ claim for

attorneys’ fees and hereby agree and stipulate as follows (the Agreement):

       1.       Federal Defendants shall pay and Plaintiffs shall accept $77,407.35 in full

satisfaction of any and all of Plaintiffs’ claims, demands, rights, and causes of action, pursuant to

Section 11(g) of the ESA, 16 U.S.C. § 1540(g), the Equal Access to Justice Act, 28 U.S.C. §

2412(d), or any other statute and/or common law theory, for attorneys’ fees incurred in

connection with the Lawsuit through and including the date of this Agreement.

       2.       Federal Defendants shall make the payment set forth in Paragraph 1 of this

Agreement by electronic funds transfer to Plaintiffs’ counsel, on behalf of Plaintiffs. No later

than ten (10) days following entry of this Stipulation as an order of the Court, Plaintiffs, through

their counsel, shall provide counsel for Federal Defendants the following information necessary

for Federal Defendants to process the payment set forth in Paragraph 1: the Plaintiffs’ names, the

payees’ names, the payees’ address, the payees’ bank name and bank address, the payees’ bank

account name and number, the account type, the bank routing transit number, the ABA number,

and the payees’ tax identification number. Upon the request of counsel for Federal Defendants,

counsel for Plaintiffs shall provide additional information (including the tax identification

numbers of Plaintiffs), if needed, to process the payment set forth in Paragraph 1.

       3.       Federal Defendants shall submit all paperwork necessary to complete the

$77,407.35 payment set forth in Paragraph 1 within fourteen (14) business days of receipt of

either a signed order from the Court approving this stipulation or receipt of the information

described in Paragraph 2, whichever is later. Plaintiffs, through their counsel, shall confirm



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receipt of the payment within 7 days of receipt of such payment in writing to counsel for Federal

Defendants.

       4.       Plaintiffs’ acceptance of the $77,407.35 payment set forth in Paragraph 1 shall

operate as a full release of Plaintiffs’ claims for attorneys’ fees arising out of the Lawsuit.

       5.       The Parties agree that this Agreement was negotiated and entered into in good

faith and that it constitutes a settlement of claims that were vigorously contested, denied, and

disputed by the Parties. This Agreement shall not be offered as evidence in any other judicial

proceeding or construed as an admission or concession of any wrongdoing, liability, or any issue

of fact or law concerning the claims settled under this Agreement. Except as expressly provided

in this Agreement, none of the Parties waives or relinquishes any legal rights, claims, or defenses

it may have.

       6.       By entering into this Agreement, Federal Defendants do not waive any right to

contest fees claimed by Plaintiffs, including hourly rates, in any future litigation or continuation

of the present action, and Plaintiffs do not waive any right to claim such fees. The undersigned

Parties agree and acknowledge that this Agreement as to attorneys’ fees has no precedential

value and shall not be used as evidence in any other attorneys’ fees litigation, except as

necessary to enforce the terms of this Stipulation.

       7.       No provision of this Agreement shall be interpreted as, or constitute, a

commitment or requirement that Federal Defendants are obligated to spend funds in violation of

the Anti-Deficiency Act, 31 U.S.C. § 1341, or any other law or regulation.

       8.       The terms of this Agreement constitute the entire agreement of the Parties, and all

previous understandings, agreements, and communications concerning settlement of Plaintiffs’

claims for attorneys’ fees incurred in the Lawsuit that occurred prior to the date hereof, whether



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express or implied, oral or written, are fully and completely extinguished and superseded by this

Agreement. This Agreement may be modified only upon mutual written consent of the Parties

and the Court’s approval of a joint stipulation to modify this Agreement.

       9.       The undersigned representatives of Plaintiffs and Federal Defendants certify that

they are fully authorized by the Parties they represent to enter into the terms and conditions of

this Agreement and to legally bind the Parties to it.

       10.      The provisions of this Agreement shall apply to and be binding upon each of the

Parties including, but not limited to, their officers, directors, servants, employees, successors,

and assigns.

       11.      This Agreement is effective as of the date it is entered by the Court.

       For all these reasons, the parties respectfully request that the Court approve the

Stipulation, as stated above.


Dated: November 14, 2018                       Respectfully submitted,

                                                /s/ Michael Harris (by permission)
                                               Michael Ray Harris (DC Bar # CO0049)
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                           /s/ Frederick H. Turner
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